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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Date:             December 6, 2018
   Courtroom Deputy: Leigh Roberson and Cathy Pearson
   Court Reporter:   Mary George


    Civil Action No. 13-cv-01945-WJM-SKC                 Counsel:

    TYLER SANCHEZ,                                       John Culver
                                                         Adam Ray
                                                         Seth Benezra

          Plaintiff,

    v.

    MIKE DUFFY, Detective, in his individual capacity,   Kelly Dunnaway
    HEATHER MYKES, Detective, in her individual          Gordon Vaughan
    capacity                                             Dawn Johnson
    BOARD OF COMMISSIONERS OF DOUGLAS                    Megan Taggart
    COUNTY, COLORADO,
    DOUGLAS COUNTY SHERIFF’S OFFICE,

          Defendants.


                                 COURTROOM MINUTES


   Jury Trial: Day Nine

   8:49 a.m.     Court in session. Jury not present.

   Charging conference.

   9:25 a.m.     Court in recess.
   9:42 a.m.     Court in session. Jury not present.

   Discussion held regarding closing arguments and Exhibit B36.

   9:46 a.m.     Jury present.

   Jury charged by the Court.
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   Closing argument for Plaintiff by Mr. Culver.

   11:04 a.m.    Court in recess.
   11:17 a.m.    Court in session. Jury present.

   Closing argument for Defendants by Mr. Dunnaway.

   Rebuttal closing argument for Plaintiff by Mr. Culver.

   Court’s remarks to the jury.

   12:13 p.m.    Jury released into deliberations.

   ORDERED: Lunches shall be provided to the jury beginning today and for the duration
            of their deliberations.

   12:16 p.m. Court in recess.
   Total time in court: 2:57

   Clerk’s note: Jury is excused at 5:00 p.m. and directed to return to the jury deliberation
                 room at 8:35 a.m. on December 7, 2018.

   Trial continued.




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